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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                 Miami Division


   IN RE:

   TAKATA AIRBAG PRODUCT                   MDL No. 2599
   LIABILITY LITIGATION                    Master File No. 15-2599-MD-MORENO


   THIS DOCUMENT RELATES TO
   ECONOMIC DAMAGES TRACK CASES




          DEFENDANT FORD MOTOR COMPANY’S MOTION TO DISMISS
        PLAINTIFFS’ SECOND AMENDED CONSOLIDATED CLASS ACTION
      COMPLAINT AND INCORPORATED SUPPORTING MEMORANDUM OF LAW
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                                        I. INTRODUCTION
           This multidistrict litigation involves claims for economic loss relating to automobiles
   equipped with airbag inflators supplied by Takata Corporation and TK Holdings (collectively,
   “Takata” or “the Takata Defendants”). A number of different vehicles models, many more than
   a decade old, from a number of different automotive manufactures, have been subject to recalls
   and service campaigns relating to these Takata inflators. The recalls and service campaigns
   remain ongoing, under the active supervision of the National Highway Traffic Safety
   Administration (“NHTSA”), the regulatory agency with primary jurisdiction over automotive
   safety recalls.
           On February 5, 2015, the Joint Panel on Multidistrict Litigation ordered centralization of
   federal claims that “share factual questions arising from allegations that certain Takata-
   manufactured airbags are defective in that they can violently explode and eject metal debris[.]”
   (Ex. 1, JPML Order, 2/5/15). At the time of that Order, Defendant Ford Motor Company
   (“Ford”) was aware of only a single, unverified report of a potential inflator rupture involving a
   Ford vehicle, and, as noted in Plaintiffs’ own pleading, that incident did not take place until
   August of 2014. (SAC at ¶ 290(e)). That incident does not involve any of the named Plaintiffs
   in this MDL. (SAC at ¶¶ 76, 82, 84, 114, 165, 179, 184).
           Notwithstanding Ford’s lack of knowledge of potential problems involving Takata
   inflators prior to late 2014, Plaintiffs have filed a Second Amended Consolidated Class Action
   Complaint (“SAC”) asserting claims against Ford for alleged economic losses attributed to the
   Takata inflators and their related recalls. The SAC is 438 pages long, containing more than
   1,930 paragraphs of allegations. Virtually none of those allegations relate to the knowledge or
   conduct of Ford. Instead, the SAC attempts to state claims against Ford based on information
   and actions attributed to other defendants. In fact, Plaintiffs go so far as to accuse those other
   defendants of committing fraud based on their statements to NHTSA that potential problems
   with Takata inflators were unique to those installed in Honda vehicles. (SAC at ¶¶ 239, 243,
   250, 254-256, 263, 274, 277, 422-423, 427).
           With respect to Ford, the SAC asserts claims for: (1) violation of the Magnuson-Moss
   Warranty Act, 15 U.S.C. § 2301 et seq., for breach of underlying state law implied warranties
   (Count 3); (2) fraudulent concealment (Count 20); (3) breach of the implied warranty of
   merchantability (Count 21); (4) unjust enrichment (Count 22); (5) violation of the Michigan

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   Consumer Protection Act (Count 23); (6) negligence (Count 24); (7) violation of the Florida
   consumer protection act, FDUTPA, for a Florida subclass (Count 47); (8); breach of the implied
   warranty of merchantability, for a Florida subclass (Count 48); (9) violation of the Ohio
   consumer sales practices act, for an Ohio subclass (Count 87); (10) violation of the Texas
   Consumer Sales Practices Act, for a Texas subclass (Count 97); and (11) breach of the implied
   warranty of merchantability, for a Texas subclass (Count 98).1
          The SAC asserts similar claims against the “Vehicle Manufacturer Defendants”– who are
   generally referred to collectively – on the theory that those defendants all knew and concealed
   relevant information from consumers relating to the Takata inflators.
          What is missing from this voluminous pleading, however, are any supporting allegations
   with respect to the alleged knowledge, or improper conduct, of Ford. Notwithstanding repeated
   boilerplate allegations of “reckless disregard, deception, concealment, and obfuscation,” (SAC at
   ¶ 33), including claims that Ford’s conduct “exhibits the highest degree of reprehensibility” so as
   to “warrant[] an assessment of punitive damages,” (id. at ¶ 676), the SAC is devoid of factual
   support for these claims. The only allegations relating to Ford’s knowledge involve the August
   2014 incident, which occurred after the Takata recall process was already underway with other
   manufacturers, and many years after the purchase dates of each of the named plaintiffs who
   allegedly own Ford vehicles (collectively, the “Ford Plaintiffs”). In short, there is no basis stated
   in the SAC to support the contention that Ford knew of any potential issues with the Takata
   inflators installed in its vehicles prior to the commencement of the recall process that is still
   ongoing, and certainly no basis to contend that Ford defrauded or actively concealed relevant
   information from consumers in general or the Ford Plaintiffs in particular. For these reasons, all
   of the Counts in the SAC predicated on Ford’s alleged fraud, concealment, or misrepresentations
   must be dismissed for failure to satisfy the requirements of Rule 8 and Rule 9(b), and for failure
   to state a claim under Rule 12(b)(6).


   1
     The SAC also asserts three counts against all vehicle manufacturing defendants on behalf of
   Automotive Dismantlers and Recyclers Association, Inc., a trade group putatively appearing by
   assigning of rights from several members of the trade group. These commercial claims are for:
   (1) fraudulent misrepresentation and fraudulent concealment (Count 104); (2) violation of
   various state consumer protection acts (Count 105); and (3) violation of Florida’s FDUTPA, on
   behalf of a Florida subclass of automotive recyclers (Count 106). With Plaintiffs’ consent, these
   Counts are addressed in a separate joint motion to dismiss filed on behalf of all of the OEM
   Defendants.
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           The Ford Plaintiffs claims are also subject to dismissal for other, substantive reasons:
           First, the Ford Plaintiffs’ breach of implied warranty claims (Counts 21, 48, and 98) must
   be dismissed. Plaintiffs’ implied warranties expired with their express warranties, and none of
   the Ford Plaintiffs allege that the claimed defect manifested during the warranty period (or, for
   that matter, at any other time). In addition, for those Ford Plaintiffs from Florida, there is no
   privity of contract with Ford relating to their purchases of used vehicles from third-party
   dealerships, which precludes all implied warranty claims under controlling Florida precedent.
   Further, the Magnuson-Moss claim (Count 3) must also be dismissed because there is no valid
   claim for breach of underlying state law warranty rights to serve as a predicate for that Count.
           Second, the Ford Plaintiffs’ unjust enrichment claims (Count 22) fail: (1) because the
   cause of action is not recognized in their relevant jurisdictions; or (2) because such equitable
   claims are improper in a case where remedies for the same injury are also sought or available
   under legal claims; or (3) because the SAC lacks a plausible allegation of a benefit conferred on
   Ford arising from the Ford Plaintiffs’ purchases from independent dealerships.
           Third, the Ford Plaintiffs’ claims under the Michigan Consumer Protection Act (Count
   23) and the Ohio Consumer Sales Practices Act (Count 87) fail because these Ford Plaintiffs
   suffered no injury in Michigan or Ohio, and they therefore cannot make claims for injuries
   sustained or transactions occurring beyond the territorial reach of Michigan or Ohio.
           Fourth, the Ford Plaintiffs’ negligence claims seeking diminution in the value of their
   vehicles (Count 24) are barred by the economic loss rule found in the properly applicable State
   laws.
           Fifth, the FDUTPA claims of the putative Florida sub-class of Ford Plaintiffs (Count 47)
   fail because none of them allege the manifestation of the alleged defect, and because their fraud-
   based misrepresentation claims are not alleged with specificity as required under Rule 9(b). The
   statute of limitations also bars the claim of one Ford Plaintiff, Joseph Aliscio.
           Sixth, with respect to Ford Plaintiffs Barnett, Huebner, Benton, and Woodard, whose
   original claims were brought in Districts other than those where they resided or purchased their
   vehicles, those claims must be dismissed pursuant to Fed.R.Civ.P. 12(b)(2) because the
   transferor courts lacked personal jurisdiction over Ford with respect to those Plaintiffs’ claims.




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          Seventh, Ford Plaintiff Nancy Barrett’s claim under the Texas Deceptive Trade Practices
   Act (Count 97) fails because she fails to plead any facts to establish deceptive conduct on the
   part of Ford in connection with her consumer transaction.
          Finally, to the extent that Plaintiffs seek to utilize this MDL to second-guess or
   contradict the determinations of NHTSA with respect to the schedule, the appropriate scope, and
   the appropriate content of ongoing safety recalls relating to Takata inflators, all such efforts are
   either preempted by federal law, or best directed to NHTSA’s discretion through the doctrine of
   primary jurisdiction.


                                    II. STATEMENT OF FACTS
          A.       Ford’s (Lack of) Knowledge of Potential Takata Inflator Issues.
          The bulk of the allegations in the SAC relate to defendants other than Ford. Specifically,
   the SAC spends more than 30 pages addressing the alleged knowledge and conduct of Takata
   and/or Honda in response to incidents and reports involving Takata inflators installed in Honda
   vehicles.2 (SAC at pages 80-110). The SAC also alleges that Takata (and Honda, based on
   information it received from Takata) said in their regulatory filings that any potential issues in
   Takata inflators were attributable to Takata’s manufacturing processes, and that all vehicles that
   “could potentially experience the problem” had been identified. (Id. at ¶ 239, 243, 250, 254-56,
   263, 274, 277.) The SAC alleges that Takata affirmatively represented to NHTSA in 2010 that
   “Takata has not provided any airbag inflators that are the same or substantially similar to the
   inflators in vehicles covered by [Honda] Recalls 08V-593 [in 2008] and 09V-259 [in 2009] to
   any customers other than Honda. The physical characteristics of the inflator housing used in the
   Honda vehicles subject to these recalls are unique to Honda.” (Id. at ¶ 257) (emphasis added).
   There are no allegations in the SAC that any other OEM was informed that their vehicles may
   have issues with Takata inflators until March or April of 2013 (id. at ¶¶ 275, 277-78), and the
   first reference to a potential issue in Ford vehicles was not until June 11, 2014 – years after the
   Ford Plaintiffs had purchased their vehicles. (Id. at ¶ 284).


   2
     Ford expresses no opinion as to the legitimacy or accuracy of Plaintiffs’ contentions with
   respect to the knowledge or actions of either Takata or Honda. Ford merely notes that Plaintiffs’
   allegations in the SAC with respect to the alleged concealment of information by co-defendants
   are inconsistent with a simultaneous claim of alleged knowledge of inflator issues on the part of
   Ford, thereby rendering Plaintiffs’ claims against Ford implausible.
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           In contrast to the allegations about other defendants’ knowledge of potential inflator
   issues, the SAC includes no factual allegations that Ford was privy to the same information. The
   only public information cited by Plaintiffs relating to Takata’s and Honda’s alleged knowledge
   of potential issues with Takata inflators were various statements and regulatory filings by Takata
   and Honda, which stated that the issues were related to manufacturing process concerns at
   specific facilities (in one case, in a specific press at a specific facility), at defined points in time,
   and with a defined universe of inflators potentially affected by the manufacturing issues. (Id. at ¶
   239, 243, 250, 254-56, 263). Prior to 2014, none of the inflators discussed in this context were
   alleged to be installed in Ford vehicles. (See id. at ¶ 257, 278). No factual basis is provided in
   the SAC to support the contention that Ford somehow knew that the limited manufacturing issue
   explanation was incorrect or untrue. To the contrary, this manufacturing issue explanation was
   consistent with Ford’s own experience with Takata inflators, inasmuch as Ford received no
   notice of any claimed issues involving Takata inflators in Ford vehicles until late 2014. (See id.
   at ¶ 290(e)).


           B.      The Ford Plaintiffs.
           There are seven Ford Plaintiffs in the SAC. Six of those Plaintiffs purchased their
   vehicles used. (See SAC at ¶¶ 76, 82, 84, 114, 165, 179). Only one of these six Plaintiffs alleges
   that she purchased her used vehicle from a Ford dealership. (Id.) Plaintiff Joseph Aliscio
   purchased a used 2004 Ford Ranger on October 22, 2009, in Ft. Pierce, Florida. (Id. at ¶ 76).
   Plaintiff John Heubner purchased his used 2005 Ford Mustang in March of 2011, in Burbank,
   California. (Id. at ¶ 114). Plaintiff Eugennie Sinclair purchased a used 2007 Ford Mustang in
   September of 2012, in Davie, Florida. (Id. at ¶ 165). Plaintiff Brooks Weisblat alleges that she
   purchased a used 2005 Ford GT in February of 2011 in Miami, Florida. (Id. at ¶ 179). Plaintiff
   Nancy Barrett purchased a used 2007 Ford Mustang on July 7, 2008, in Austin, Texas. (Id. at ¶
   82). Plaintiff Alicia Benton – the only purchaser of a used Ford who bought from a Ford
   dealership – bought her used 2010 Ford Mustang from Summerville Ford in August of 2010, in
   Summerville, South Carolina. (Id. at ¶ 84).
           Of the six Ford Plaintiffs who purchased their vehicles used, four also purchased them at
   times when the original New Vehicle Limited Warranty issued by Ford had already expired;
   accordingly, any implied warranties issued by Ford also expired before these Plaintiffs ever

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   purchased their used vehicles. (See id. at ¶¶ 76, 114, 165, 179; see also Ex. 2 at p. 5 (Aliscio
   2004 Ranger Warranty Guide); Ex. 3 at p. 5 (Huebner & Woodard 2005 Mustang Warranty
   Guide); Ex. 4 at p. 8 (Sinclair & Barnett 2007 Mustang Warranty Guide); Ex. 5 at p. 5 (Weisblat
   2005 Ford GT Warranty Guide)). The two used Ford vehicles that may have been covered by
   the New Vehicle Limited Warranty at the time of their purchase were Plaintiff Barnett’s used
   2007 Mustang, and Plaintiff Benton’s used 2010 Mustang. (Id. at ¶¶ 82, 84). Both of those
   vehicle warranties are now expired based on the dates of sale and vehicle first use. (See id.; see
   also Ex. 4 at p. 8; Ex. 6 at p. 8 (Benton 2010 Mustang Warranty Guide); Ex. 7 (original title of
   Benton vehicle)).3     None of the Ford Plaintiffs who purchased used vehicles made any
   allegations as to the mileage of their vehicles at the time of purchase, or currently. (Id. at ¶¶ 76,
   82, 84, 114, 165, 179). None of the Ford Plaintiffs who bought used vehicles allege any direct
   dealings or communications with Ford prior to their purchase of their used vehicles. (Id.).
          One of the Ford Plaintiffs added to the SAC in the second amendment alleges she
   purchased her vehicle new from a Ford dealership. Plaintiff Teresa Woodard purchased a new
   2005 Ford Mustang from Fairway Ford in Greenville, South Carolina, in 2005. (Id. at ¶ 184).
   Based on the date of sale, her New Vehicle Limited Warranty (and any related implied
   warranties) expired more than five years ago. (Id.; see also Ex. 3 at p. 5). Plaintiff Woodard
   also does not allege any direct dealings or communications with Ford prior to purchasing her
   vehicle. (Id. at ¶ 184).
          No Ford Plaintiff identifies with specificity any statement or action by Ford that he or she
   saw or relied upon prior to purchasing a Ford vehicle. (Id. at ¶¶ 76, 82, 84, 114, 165, 179, 184).
   The only allegations in the SAC involving statements by Ford are: (1) two quotes allegedly from
   brochures in 2006 – not matching the model year of any Ford Plaintiff’s vehicle – stating Ford’s
   vehicles had “up-to-the minute safety and security systems [that] help protect you and your
   passengers out there on the road,” and that its cars contain a “Personal Safety System®” that
   “enhances protection for the driver and front passenger in certain frontal collisions. The system
   customizes the deployment of the dual-stage front airbags based on several criteria, including the


   3
     As a public record, this Court may take judicial notice of the original titling document. See
   Cash Inn of Dade, Inc. v. Metropolitan Dade County, 938 F.2d 1239, 1243 (11th Cir. 1991) (“A
   district court may take judicial notice of public records”); Kalliaten Sekhneb Khepera-Bey v.
   Santander Consumer USA, Inc., 2013 U.S. Dist. LEXIS 117570, *11 (D. Md. Aug. 16, 2013)
   (taking judicial notice of DMV title records).
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   driver’s seat position, whether the front safety belts are in use, the amount of pressure exerted on
   the front-passenger seat, and the overall severity of the impact,”; and (2) an alleged statement
   from Ford’s website in 2015 – years after the last Ford Plaintiff purchased a Ford vehicle –
   stating: “At Ford, we hold ourselves to very high standards for vehicle safety. The fact is,
   vehicle safety is a critical part of our brand promise to Go Further. We aim to give customers
   peace of mind and make the world safer by developing advanced safety technologies and making
   them available across a wide range of vehicles.” (Id. at ¶ 310(b)). The SAC does not link these
   statements to any Ford Plaintiff, or any Ford Plaintiff’s purchasing decision. No Plaintiff alleges
   that the airbags in his or her Ford vehicle ever deployed, much less deployed in an inappropriate
   or dangerous manner. (Id. at ¶¶ 76, 82, 84, 114, 165, 179, 184).

                                       III. LEGAL STANDARD

          Dismissal of a complaint, pursuant to Federal Rule of Civil Procedure 12(b)(6), is proper
   when “on the basis of a dispositive issue of law, no construction of the factual allegations will
   support the cause of action.” Karhu v. Vital Pharms., Inc., No. 13-60768-CIV-COHN, 2013 WL
   4047016, at *2 (S.D. Fla. Aug. 9, 2013) (quoting Marshall Cnty. Bd. of Educ. v. Marshall Cnty.
   Gas. Dist., 992 F.2d 1171, 1174 (11th Cir. 1993)). “Pleadings must be something more than an
   ingenious academic exercise in the conceivable.” Marsh v. Butler Cnty., Ala., 268 F.3d 1014,
   1037 (11th Cir. 2001). To state a claim under Federal Rule of Civil Procedure 8, a complaint
   must “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
   plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp.
   v. Twombly, 550 U.S. 544, 570 (2007)). This standard “demands more than an unadorned, the-
   defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. Determining whether a
   complaint states a plausible claim for relief is “a context-specific task that requires the reviewing
   court to draw on its judicial experience and common sense. But where the well-pleaded facts do
   not permit the court to infer more than the mere possibility of misconduct,” the complaint has not
   shown that the pleader is entitled to relief. Id. at 679 (internal citation, alteration, and quotation
   marks omitted; emphasis added).
          While the court must always accept the truth of a complaint’s factual allegations, that
   principle “is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of
   action, supported by mere conclusory statements, do not suffice.” Id. at 678; see also Davila v.


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   Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003) (“conclusory allegations,
   unwarranted factual deductions or legal conclusions masquerading as facts will not prevent
   dismissal.”).
          In setting forth the claims in the complaint, it is improper to engage in “shotgun”
   pleading. A shotgun pleading is one in which involves multiple defendants, that fails to connect
   specific facts to specific counts, and that makes allegations that “‘the defendants’ engaged in
   certain conduct, making no distinction among the [numerous] defendants charged, though
   geographic and temporal realities make plain that all of the defendants could not have
   participated in every act complained of.” Magluta v. Samples, 256 F. 3d 1282, 1284 (11th Cir.
   2001); see also LaRosa v. City of Sweetwater, 13-21585-CIV, 2014 WL 235449, at *1 (S.D. Fla.
   Jan 22, 2014) (defining shotgun pleading as “pleadings involving multiple defendants and
   complicated factual scenarios, where the plaintiff is imprecise in asserting which actions are
   attributable to which defendants”); Rajbhandari v. U.S. Bank, 13-81218-CIV, 2014 WL
   4545875, at *2 (S.D. Fla. Sept. 15, 2014) (granting motion to dismiss shotgun complaint on
   basis, inter alia, that “specific facts are not related in any way to a specific count” and “the
   Amended Complaint lumps multiple Defendants together”). The Eleventh Circuit has roundly
   condemned shotgun pleadings because they make it “virtually impossible to know which
   allegations of fact are intended to support which claim(s) for relief.” Anderson v. Dist. Bd. of
   Trustees Cent. Fla. Comm., 77 F.3d 364, 366 (11th Cir. 1996). The Eleventh Circuit similarly
   disapproves of the attempt to assert multiple causes of action under a single count in a complaint.
   See, e.g., Pelletier v. Zweifel, 921 F.2d 1465, 1518 (11th Cir. 1991) (disapproving of
   “quintessential” shotgun pleading that, inter alia, asserted four separate RICO claims under a
   single count).
          When a claim is premised on allegations of fraud, the allegations must further satisfy the
   heightened particularity requirement of Rule 9(b). See United States ex rel. Graves v. Plaza
   Med. Ctrs. Corp., Civ. No. 10–23382, 2014 WL 5040284, at *2 (S.D. Fla. Oct. 8, 2014)
   (Moreno, J.) (holding under Rule 9(b) “a plaintiff must plead the circumstances constituting
   fraud with particularity”). “Rule 9(b)’s particularity requirement for fraud allegations exists to
   put defendants on notice as to the exact misconduct with which they are charged and to protect
   defendants against spurious charges.” United States ex rel. Mastej v. Health Mgmt. Assocs., 869
   F. Supp. 2d 1336, 1340 (M.D. Fla. 2012) (citing Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194,

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   1202 (11th Cir. 2001)). Consistent with the prohibition on “shotgun” pleading under Rule 8, it is
   also improper under Rule 9(b) for plaintiffs to merely lump multiple defendants together. See
   Martinez v. Bank of Am. Corp., Civ. 14–21467, 2014 WL 2735668, at *5 (S.D. Fla. June 16,
   2014) (Moreno, J.).
          In the Eleventh Circuit, the particularity requirement of Rule 9(b) is only satisfied if the
   complaint sets forth “(1) precisely what statements were made in what documents or oral
   representations or what omissions were made, and (2) the time and place of each such statement
   and the person responsible for making (or, in the case of omissions, not making) same, and (3)
   the content of such statements and the manner in which they misled the plaintiff, and (4) what
   the defendants obtained as a consequence of the fraud.” Id. (quoting Ziemba, 256 F.3d at 1202)
   (internal quotations omitted). The requirements of Rule 9(b) apply to any claim grounded in
   fraud, whether denominated as such or not. See Perret v. Wyndham Vacation Resorts, Inc., 846
   F. Supp. 2d 1327, 1333 (S.D. Fla. 2012) (stating Rule 9(b) “does not state it only applies to
   claims for fraud; it says it applies to allegations of fraud.”). The majority of opinions in this
   District have applied the requirements of Rule 9(b) to allegations under FDUTPA. See Stires v.
   Carnival Corp., 243 F. Supp. 2d 1313, 1322 (M.D. Fla. 2002) (“Most courts construing claims
   alleging violations of the Federal Deceptive Trade Practices Act or its state counterparts have
   required the heightened pleading standard requirements of Rule 9(b)”).4
          Although a court should not normally consider materials outside of the complaint in
   ruling on a motion to dismiss, a court may consider exhibits submitted with, or documents whose
   contents are alleged in, the complaint, as well as documents that are matters of public record or
   may be judicially noticed pursuant to Fed. R. Evid. 201. Copans Motors, Inc. v. Porshe Cars N.
   Am., Inc., No. 14-60413-CV, 2014 WL 2612308, at *1 (S.D. Fla. June 11, 2014) (citing United

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     See also Koch v. Royal Wine Merchants, Inc., 847 F. Supp. 2d 1370, 1380-81 (S.D. Fla. 2012)
   (applying Rule 9(b) to FDUTPA claims sounding in fraud); Perret v. Wyndham Vacation
   Resorts, Inc., 846 F. Supp. 2d 1327 (S.D. Fla. 2012) (dismissing FDUPTA claim for failure to
   plead with specificity required under Rule 9(b)); Blair v. Wachovia Mortg. Corp., Case No. 11-
   cv-566-OC-37, 2012 WL 868878 (M.D. Fla. Mar. 14, 2012) (holding that “where the gravamen
   of the claim sounds in fraud, as here, the heightened pleading standard of Rule 9(b) would
   apply”); Llado-Carreno v. Guidant Corp., Case No. 09-20971-CIV, 2011 WL 705403, *5 (S.D.
   Fla. Feb. 22, 2011) (holding Rule 9(b) applicable to FDUTPA claims premised on fraudulent
   conduct); Begualg Inv. Mgmt., Inc. v. Four Seasons Hotel Ltd., Case No. 10-22153-CIV, 2011
   WL 4434891 (S.D. Fla. Sept. 23, 2011) (“the allegations relating to the FDUPTA violation . . .
   have failed to meet the requisite particularity under Rule 9(b)”).

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   States v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994) and stating that a court may take judicial
   notice of public records in a motion to dismiss).


                                          IV. ARGUMENT
          A.      The Ford Plaintiffs Fail To State A Claim For Fraudulent Concealment
                  (Count 20).

          In Count 20, the Ford Plaintiffs allegedly bring a claim for fraudulent concealment under
   “the common law,” or alternatively under the law of Michigan, or further alternatively under the
   “laws of the states where Plaintiffs and Class Members reside and/or purchased their Class
   Vehicles.” (SAC at ¶ 663).5 Count 20 includes claims that Ford “omitted and concealed facts,”
   “actively concealed,” “purposefully with[held],” and “suppressed . . . material facts,” and did so
   “maliciously, oppressively, deliberately, with intent to defraud,” thereby exhibiting “the highest
   degree of reprehensibility [which] . . . warrants an assessment of punitive damages[.]” (Id. at ¶¶
   664-676).   What Count 20 does not include is a single fact that Ford is alleged to have
   misrepresented, withheld, or concealed. Count 20 contains no cross-references to any of the
   prior allegations in the SAC, and it does not itself describe what Ford supposedly knew, when it
   knew it, and how it supposedly withheld or misrepresented this information – much less how
   Ford supposedly did these things intentionally, and with “the highest degree of
   reprehensibility[.]” To the contrary, the allegations of the SAC support that Ford was unaware
   of potential issues associated with its Takata inflators, given the supposed conspiracy of other
   defendants to suppress such information. (See SAC at ¶¶ 419-443). For this reason, based on its
   own allegations the SAC fails to state a claim against Ford for fraudulent concealment.
          Further, fraudulent concealment is, as the name suggests, an allegation of fraud. As such
   it must satisfy the pleading requirements of Rule 9(b). See Speier-Roche v. Volkswagen Grp. Of

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       Ford notes that Plaintiffs’ habit of pleading a single count under potentially as many as six
   distinct (but not specifically stated) legal standards would appear to run afoul of the rulings of
   the Eleventh Circuit regarding the prohibition on “shotgun” pleadings. See Pelletier v. Zweifel,
   921 F.2d 1465, 1518 (11th Cir. 1991) (disapproving of “quintessential” shotgun pleading that,
   inter alia, asserted four separate RICO counts under a single count in the complaint); Anderson
   v. Dist. Bd. of Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir. 1996) (“where, as here,
   the plaintiff asserts multiple claims for relief, a more definite statement, if properly drawn, will
   present each claim for relief in a separate count, as required by Rule 10(b).”). Regardless of the
   applicable substantive law, however, Plaintiffs’ SAC fails the requirements of Rule 9(b), which
   is applicable to all such claims.
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   Am., Inc., Civ. No. 14–20107, 2014 WL 1745050, at *7 (S.D. Fla. Apr. 30, 2014) (Moreno, J.)
   (“[a] fraudulent concealment claim is subject to [Rule 9(b)]’s requirement that the circumstances
   constituting fraud shall be stated with particularity. Under Rule 9(b), the circumstances of the
   fraud must be alleged with specificity, i.e., the ‘who, what, when, where, and how’ of the alleged
   fraud.”) (internal citation omitted); Greenberg v. Miami Children’s Hosp. Research Instit., Inc.,
   264 F. Supp. 2d 1064, 1073 (S.D. Fla. 2003) (Moreno, J.) (same). Count 20 lacks any of the
   elements of a proper 9(b) fraud pleading. There is no indication as to the time, place, or content
   of the allegedly fraudulent misrepresentation or omission. To the contrary, the allegations in the
   SAC establish that Ford was not informed of any potential issues with Takata inflators in Ford
   vehicles until after – in most cases, many years after – the Ford Plaintiffs purchased their
   vehicles. The SAC contains no factual allegations to support concealment of any kind by Ford,
   much less the active and deliberate concealment asserted. There are certainly no allegations
   identifying   specific   communications     from    Ford,   the   person   responsible   for   those
   communications, or when any such communications were made (a fact of particular significance
   here, given the broad temporal scope of the fraud alleged and the evolution of facts over time
   relating to Takata inflators). See Stein v. Marquis Yachts, LLC, Civ. No. 14–24756, 2015 WL
   1288146, at *6 (S.D. Fla. Mar. 20, 2015) (dismissing FUDTPA claim lacking allegations of pre-
   sale misrepresentations made in Florida).
          Instead, the Ford Plaintiffs seek to conceal by generality, apparently in the hope that
   collective references to wrongdoing by “Vehicle Manufacturer Defendants” as a whole will mask
   the paucity of allegations with respect to Ford. This is precisely the type of “shotgun” pleading
   that this Court and the Eleventh Circuit have repeatedly, and appropriately, condemned. See
   United States ex rel. Graves, Civ. No. 10–23382, 2014 WL 5040284, at *2-3 (S.D. Fla. Oct. 9,
   2014) (Moreno, J.) (granting motion to dismiss under Rule 9(b), holding “in a case involving
   multiple defendants[,] the complaint should inform each defendant of the nature of his alleged
   participation in the fraud.... The Amended Complaint is devoid of specific factual allegations
   with respect to the separate Defendants.”) (quoting Brooks v. Blue Cross & Blue Shield of Fla.,
   Inc., 116 F.3d 1364, 1381 (11th Cir. 1997)); see also Mills v. Polar Molecular Corp., 12 F.3d
   1170, 1175 (2d Cir. 1993) (“Rule 9(b) is not satisfied where the complaint vaguely attributes the
   alleged fraudulent statements to ‘defendants’”); Balabanos v. North Am. Inv. Group, Ltd., 708 F.
   Supp. 1488, 1493 (N.D. Ill. 1988) (stating that in cases involving multiple defendants, “the

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   complaint should inform each defendant of the specific fraudulent acts that constitute the basis of
   the action against the particular defendant.”).
          In addition to failing the requirements of Rule 9(b), the Ford Plaintiffs’ allegations also
   fail to satisfy the lower standard of Rule 8 as articulated by the Supreme Court in Twombly and
   Iqbal. The facts alleged with respect to Ford (such as they are) are not “consistent with a
   defendant’s liability” and therefore stop well-short of the “line between possibility and
   plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted).
          In Count 20, Plaintiffs make nothing but skeletal and bald allegations of Ford’s claimed
   misconduct, without tying any of that conduct to the specific purchasing transactions of any of
   the Ford Plaintiffs. Sweeping and generalized allegations, such as those in support of Count 20
   “fail[] to adequately link a cause of action to its factual predicates.” Karhu, 2013 WL 4047016,
   at *3 (quoting Lampkin-Asam v. Volusia Cnty. Sch. Bd., 261 F. App’x. 274, 277 (11th Cir.
   2008)). Shotgun pleading of this nature has been expressly and explicitly condemned by the
   Eleventh Circuit for failing to comply with the requirements of Fed. R. Civ. P. 8(a)(2) and 8(d).
   See Davis v. Coca-Cola Bottling Co., 516 F.3d 955, 979 n.9 (11th Cir. 2008); Karhu, 2014 WL
   4047016, at *3. Count 20 should be dismissed with respect to Ford because the SAC “does not
   plead the specific factual predicate for each claim” and does not “link particular fats to the
   individual cause[] of action.” Karhu, at *3.
          In addition to their various pleading-based deficiencies, the Ford Plaintiffs’ fraudulent
   concealment claims fail because no such cause of action can arise absent a fiduciary or special
   relationship that can support a legal duty to disclose. See Friedman v. Am. Guardian Warranty
   Servs., 837 So. 2d 1165, 1166 (Fla. Dist. Ct. App. 2003) (“Fraud based upon a failure to disclose
   material information exists only when a duty to make such disclosure exists. This duty arises
   when one party has information which the other party has a right to know because there is a
   fiduciary or other relation of trust or confidence between the two parties.”); Ellie, Inc. v.
   Miccichi, 594 S.E.2d 485, 497 (S.C. Ct. App. 2004) (duty to disclose only arises where there is a
   fiduciary relationship). In Taylor v. American Honda Motor Co., the district court rejected the
   application of fraudulent concealment claims against remote manufacturers under circumstances
   similar to those at issue here, noting “plaintiffs’ complaint is deficient, if for no other reason,
   because it fails to allege any sales transaction whatever between [plaintiff] and [remote
   manufacturer] . . . . No Florida case has gone so far as to impose upon merchants a duty to

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   disclose information to the public at large, and this Court declines to do so today.” 555 F. Supp.
   59, 64 (M.D. Fla. 1982). That rationale should likewise apply here. Furthermore, for Plaintiffs
   Aliscio, Weisblat, and Sinclair, the economic loss rule would bar their fraudulent concealment
   claims in any event. See Burns v. Winnebago Indus., Inc., No. 8:13-CV-1427-T-24, 2013 WL
   4437246, at *3 (M.D. Fla. Aug. 16, 2013) (dismissing fraudulent concealment claim under
   Florida’s economic loss rule); Aprigliano v. Am. Honda Motor Co., 979 F. Supp. 2d 1331, 1338
   (S.D. Fla. 2013).6


             B.      Ford Plaintiffs’ Implied Warranty And Magnuson-Moss Counts Fail.
             In Count 21 of the SAC, the Ford Plaintiffs claim to bring a Nationwide class for breach
   of the implied warranty of merchantability under the laws of the State of Michigan. (SAC at ¶
   677). The Ford Plaintiffs allege that Michigan law should apply to the putative nationwide class
   for this Count because “Michigan has the most significant relationship to the facts and issues
   relevant to this claim.” (Id.). The Ford Plaintiffs are wrong in their choice of law analysis, and
   each fail to state a claim under Michigan law for breach of implied warranty. Further, even if the
   appropriate law of their place of purchase were applied to their claims (which the Ford Plaintiffs
   did not request as an “alternative” position to Count 21, unlike their alternative requests for their
   unjust enrichment and fraudulent concealment claims), their implied warranty claims still fail.
   Thus, the Ford Plaintiffs’ claims under Count 21, and the state-specific subclass Counts 48
   (Florida) and 98 (Texas) for breach of implied warranty, should be dismissed. Lacking any
   supporting implied warranty claim to serve as a predicate, the Ford Plaintiffs’ Magnuson-Moss
   Warranty Act claim (Count 3) should likewise be dismissed with respect to Ford.


                     1.      Plaintiffs’ Choice of Law Analysis Is Flawed.
             Determining the proper law to apply to a claim is appropriate at the motion to dismiss
   stage, particularly in the case of a putative class action seeking to apply foreign law to a
   nationwide class. See Berry v. Budget Rent A Car Sys., Inc., 497 F. Supp. 2d 1361, 1365 (S.D.
   Fla. 2007) (“the choice of law issue presented at this time is simply whether the Court should
   apply the law of the state in which [Defendant] is headquartered to all members of the class, or
   apply the law of each state in which the class members rented the vehicles . . . . [T]he resolution

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       The economic loss rule is described in greater detail in Section E, infra.
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   of the instant Motion to Dismiss depends upon the Court first determining this fundamental
   choice of law question. Therefore, the Court addresses it at this time.”).
          None of the Ford Plaintiffs are residents of Michigan, nor do they allege that they
   purchased their vehicles in Michigan. (SAC at ¶¶ 76, 82, 84, 114, 165, 179, 184). Plaintiffs
   provide no rationale as to why “Michigan has the most significant relationship to the facts and
   issues relevant to this claim,” beyond Plaintiffs’ bald conclusion. Implied warranties relating to
   the sale of goods are creatures of statute, and such warranties arise by operation of the law of the
   State of sale – which, for the Ford Plaintiffs, uniformly was not Michigan.
          All of the Ford Plaintiffs are subject to the “most significant relationship”/Restatement
   (Second) of Conflicts test for determining choice of law.7 Applying this test, courts have
   routinely determined that it is the law of the State where the product is purchased, and where the
   alleged harm (diminished value) is suffered, that properly applies to claims for breach of
   warranty. See Premix-Marbletite, 145 F. Supp. 2d at 1354 (“all of the injuries caused by the
   allegedly defective [product] occurred in Florida. Accordingly, the Court finds that Florida has
   an appropriate relation to the transactions underlying this action and will therefore apply
   Florida’s version of the UCC to the breach of warranty claims”); see also Cohen v. Implant
   Innovations, Inc., 259 F.R.D. 617, 641 (S.D. Fla. 2008) (holding breach of express warranty
   claims governed by state of purchase); In re Masonite Corp. Hardboard Siding Prods. Liab.
   Litig., 21 F. Supp. 2d 593, 597-98 (E.D. La. 1998) (multi-district litigation applying Florida UCC
   and finding appropriate relation existed to the State of Florida where warranties were allegedly
   breached in Florida); Pulte Home Corp., Inc. v. Ply Gem. Indust., Inc., 804 F. Supp. 1471, 1481-




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     The choice-of-law rules governing the Ford Plaintiffs’ claims are based on the forum in which
   their claims were originally filed, prior to centralization in this district. In re Managed Care
   Litig., 298 F. Supp. 2d 1259, 1296 (S.D. Fla. 2003) (Moreno, J.). Ford Plaintiffs Aliscio,
   Barnett, and Weisblat originally appeared as named plaintiffs in actions filed in Florida, and
   Plaintiff Huebner originally appeared in the Gerhart action filed in the Western District of
   Pennsylvania. Their choice of law analysis is therefore governed by the “most significant
   relationship”/Restatement (Second) of Conflicts tests applied in Florida and Pennsylvania. See
   Cohen v. Implant Innovations, Inc., 259 F.R.D. 617, 634 (S.D. Fla. 2008) (Florida); Sherwin-
   Williams Co. v. Bei Enters., Inc., 2012 WL 5990313, at *2 (E.D. Pa. Nov. 30, 2012)
   (Pennsylvania). Plaintiffs Sinclair, Benton, and Woodard appeared for the first time in the
   consolidated complaints filed in this MDL, thus their claims are subject to Florida’s conflicts of
   law analysis. Id.
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   82 (M.D. Fla. 1992) (applying Florida UCC and finding appropriate relationship existed in
   Florida where product containing alleged defects was located in Florida).
          In fact, it is well-established in consumer claims for economic loss based on putative
   automotive defects that “[e]ach plaintiff’s home state has an interest in protecting its consumers
   from in-state injuries caused by foreign corporations and in delineating the scope of recovery for
   its citizens under its own laws.” In re Ford Ignition Switch Prods. Liab. Litig., 174 F.R.D. 332,
   348 (D.N.J. 1997); see also Spence v. Glock, 227 F.3d 308, 314 (5th Cir. 2000) (“All 51 relevant
   jurisdictions are likely to be interested in ensuring that their consumers are adequately
   compensated in cases of economic loss.”); Lyon v. Caterpillar, Inc., 194 F.R.D. 206, 211-12
   (E.D. Pa. 2000) (“All of the relevant jurisdictions have an interest in utilizing the state statute
   crafted by their state’s legislature to protect their consumers and/or residents.”). “These interests
   arise by virtue of each state being the place in which plaintiffs reside, or the place in which
   plaintiffs bought and used their allegedly defective vehicles or the place where plaintiffs’ alleged
   damages occurred.” Ignition Switch, 174 F.R.D. at 348.
          Further, with respect to Ford Plaintiffs Benton, Sinclair, and Barnett – whose claims were
   all originally filed in Florida, and whose choice-of-law analysis is therefore based on Florida law
   – provisions contained in their express warranties dictate that their warranty claims be
   determined under the law of the state of purchase. See Fla. Stat. § 671.105(1); Premix-
   Marbletite Mfg. Corp. v. SKW Chemicals, Inc., 145 F. Supp. 2d 1348, 1353 (S.D. Fla. 2001).
   Ford’s New Vehicle Limited Warranty (“NVLW”) for 2007 and 2010 addresses both express
   and implied warranties relating to Ford vehicles. (See Ex. 4 at 7; Ex. 6 at 7). The NVLW
   provides that “[t]he warranties contained in this booklet and all questions regarding the
   enforceability and interpretation are governed by the law of the state in which you purchased
   your Ford vehicle.” (Id.). Accordingly, per this choice of law provision, the laws of these Ford
   Plaintiffs’ States of purchase apply to their claims, not Michigan law.


                  2.      The Ford Plaintiffs’ Implied Warranty Claims Are Barred By Lack of
                          Privity, Failure of Notice, and/or Expiration Of Their Warranty.

          Ford Plaintiffs Aliscio, Weisblat, and Sinclair purchased their vehicles used from third-
   party dealerships in Florida. (SAC ¶¶ 76, 165, 179). Notably, none of these dealerships are
   alleged to be Ford dealerships. (Id.). None of the Florida Plaintiffs are in privity with Ford, and


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   therefore they cannot maintain a claim for economic damages in a breach of an implied warranty
   claim against Ford. “Under Florida law, a plaintiff cannot recover economic losses for breach of
   implied warranty in the absence of privity.” Mesa v. BMW of N. Am., LLC, 904 So. 2d 450, 458
   (Fla. 3d DCA 2005); Speier-Roche, 2014 WL 1745050, at *7 (“Under Florida law, ‘[a] contract
   action for breach of implied warranty does not lie where there is no privity of contract’ between
   a plaintiff and defendant”) (quoting Westinghouse Corp. v. Ruiz, 537 So. 2d 596, 596-97 (Fla. 3d
   DCA 1988)); see also McCabe v. Daimler AG & Mercedes-Benz USA, LLC, 948 F. Supp. 2d
   1347, 1362 (N.D. Ga. 2013) (applying Florida law and dismissing breach of implied warranty
   claims where plaintiffs did not purchase their vehicles directly from the defendants). Plaintiffs’
   implied warranty claims are not saved, nor is privity established, by the existence of a written
   manufacturer’s warranty which extends to the buyer. Am. Suzuki Motor Corp., 629 F. Supp. 2d
   at 1322 (collecting cases) (under Florida law, “the existence of a manufacturer’s warranty which
   runs to the buyer does not in and of itself establish privity.”); Karhu v. Vital Pharms., Inc., Civ.
   No. 13–60768, 2013 WL 4047016, at *7 (S.D. Fla. Aug. 9, 2013) (“[M]erely purchasing a
   product from an authorized dealer does not establish privity with the manufacturer.”). Nor can
   these Plaintiffs argue that some theoretical third-party beneficiary status under the original
   warranties (extended to original purchasers) can somehow by-pass this privity requirement.8
          The claims of Aliscio, Weisblat, Sinclair, and Barnett should also be dismissed for failure
   to allege that they provided pre-suit notification of their claims, as required under controlling
   Florida and Texas law. See Fla. Stat. § 672.607(3) (applies to breaches of express and implied
   warranties); Tex. Bus. & Com. Code § 2.607(c)(1) (same). Failure to plead that the requisite
   notice was provided defeats the warranty claims of these plaintiffs, and such notice cannot be
   satisfied by the filing of the lawsuit itself. See Chapman v. Abbott Labs., 930 F. Supp. 2d 1321,
   1325 (M.D. Fla. Mar. 14, 2013); Cohen v. Implant Innovations, Inc., 259 F.R.D. 617, 642 (S.D.
   Fla. 2008); Garcia v. Clarins USA, Inc., 2014 U.S. Dist. LEXIS 182426, *18-19 (S.D. Fla. Sep.
   9, 2014); Cohen v. Implant Innovations, Inc., 259 F.R.D. 617, 625 (S.D. Fla. 2008); In re Ford
   Motor Co. Speed Control Deactivation Switch Prods. Liab. Litig., 2007 U.S. Dist. LEXIS 62483,
   *17-19 (D. Mich. Aug. 24, 2007) (applying Florida law); U.S. Tire-Tech, Inc. v Boeran, B.V.,


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     Ford incorporates by reference the arguments regarding the inapplicability of third-party
   beneficiary status made by Subaru of America, Inc. (“Subaru”) in its motion to dismiss at
   II(A)(1).

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   110 S.W.3d 194, 201-02 (Tex. App.-Houston 1st Dist. 2003) (“The manufacturer must be made
   aware of a problem with the particular product purchased by a particular buyer”); Massey v.
   Novartis Pharms. Corp., 46 F. Supp. 3d. 688, 692 (W.D. Tex. 2014) (dismissing warranty claim
   for lack of pre-suit notice, rejecting proposition that awareness from other reports or claims
   satisfies plaintiff’s notice obligation).9
           Further, Ford Plaintiffs Aliscio, Weisblat, Sinclair, and Huebner all purchased their used
   vehicles with the Ford New Vehicle Limited Warranty (“NVLW”) already expired. Because
   their NVLW limited the duration of Ford’s implied warranty to the duration of the NVLW, the
   only implied warranty attributable to Ford was likewise expired prior to their purchase,
   eliminating any possibility of an implied warranty claim against Ford. See, e.g., White v.
   Volkswagen Group of Am., Inc., Civ. No. 2:11–02243, 2013 WL 685298, at *5 (W.D. Ark. Feb.
   25, 2013) (“Here, according to the plain terms of Defendant’s express Warranty, the implied
   warranty of merchantability applicable to White’s vehicle ‘is limited in duration to the period of
   this written warranty.’…As discussed above, the written Warranty expired prior to the time
   White became the owner of her vehicle. Since the implied warranty's duration is equal to the
   written Warranty's, the implied warranty also expired.”); Daigle v. Ford Motor Co., Civ. No. 09–
   3214, 2012 WL 3113854, at *3 (D. Minn. July 31, 2012) (“Daigle’s claim of breach of implied
   warranty under Minnesota law is limited to the life of the New Vehicle Warranty - which is three
   years or 36,000 miles, whichever occurs first. It is undisputed that Daigle purchased his 2004
   Freestar after the New Vehicle Warranty had expired, therefore his claim of breach of implied
   warranty has no merit and Ford is entitled to summary judgment.”).10



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     Ford incorporates by reference the further arguments on this issue set forth in the motions to
   dismiss filed by Mazda Motor of America, Inc. (“Mazda”), at Section F(6)(a), and Subaru at
   Section II(A)(2).
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      See also Aprigliano v. Am. Honda Motor Co., 979 F. Supp. 2d 1331, 1340 (S.D. Fla. 2013)
   (“Plaintiffs have asserted they purchased their [products] after the factory warranties issued by
   Honda had expired. Plaintiffs cannot plead they experienced any defect during the express
   warranty periods . . . as they clearly lacked ownership interests during the warranty periods.”);
   Frenzel v. AliphCom, __ F. Supp. 3d __, No. 14-cv-03587-WHO, 2014 WL 7387150, at *15
   (N.D. Cal. Dec. 29, 2014) (holding that “[t]hese [one-year] restrictions on [defendant’s] warranty
   obligations extend to claims under the implied warranty of merchantability.”); Snodgrass v. Ford
   Motor Co., 2001 U.S. Dist. LEXIS 18555, *33-35, 49 n.11 (D.N.J. Sep. 4, 2001) (“Since the
   limitation was valid upon sale, the implied warranty expired long before the Naves purchased
                                                   17
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          Similarly, because Ford Plaintiffs Woodard, Barnett, and Benton’s NVLW (and, by
   extension, their implied warranties) expired during their ownership, with no allegation of any
   manifestation of a defect in their airbag inflators prior to that expiration, their claims are likewise
   barred. See, e.g., Brisson v. Ford Motor Co., 349 Fed. App’x 433, 434 (11th Cir. 2009) (“[t]he
   district court properly dismissed the implied warranty claim because . . . plaintiffs failed to
   allege that a defect manifested itself or a breach occurred within” the relevant warranty period.);
   cf. Licul v. Volkswagen Grp. Of Am., Inc., Civ. No. 13–61686, 2013 WL 6328734, at *2 (S.D.
   Fla. Dec. 5, 2013) (Moreno, J.) (“plaintiff may not bring a claim for breach of an express
   warranty where a defect has not manifested during the warranty period.”).11
          Finally, Ford incorporates by reference the arguments made by Nissan North America,
   Inc. (“Nissan”) at Section IV(A), regarding the overall merchantability – as a matter of law – of
   vehicles that have performed without any manifestation of an alleged latent defect.
          For all of these reasons, Counts 21, 48, and 98 should be dismissed with prejudice.
   Lacking a predicate breach of implied warranty claim, the Ford Plaintiffs are unable to assert a
   Magnuson-Moss claim relating to their vehicles, and Count 3 should likewise be dismissed with
   respect to Ford. See Hill v. Hoover Co., 899 F. Supp. 2d 1259, 1266 (N.D. Fla. 2012) (“[I]n
   order to state a claim under the MMWA, the Plaintiff must adequately plead a cause of action for




   their car in 1992.”); Kagan v. Harley Davidson, Inc., 2008 U.S. Dist. LEXIS 32747, *31-38
   (E.D. Pa. Apr. 22, 2008) (same).
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       The Ford Plaintiffs make a half-hearted effort to avoid the expiration of their warranties by
   arguing that the time and mileage provisions of the warranties are somehow “unconscionable.”
   (SAC ¶¶ 452-454). Ford’s warranties are entirely consistent with industry standards, and longer
   than numerous other warranties that have been found to be not unconscionable. See Landsman
   Packing Co. v. Continental Can Co., 864 F.2d 721, 729 (11th Cir. 1989) (stating courts “have
   upheld 12 month warranty limitations as reasonable”); Speier-Roche, supra (enforcing vehicle’s
   12 month/12,000 mile warranty); Licul v. Volkswagen Grp. Of Am., Inc., Civ. No. 13–61686,
   2013 WL 6328734, at *1, 3-4 (two-year/24,000 mile warranty not unconscionable); Taterka v.
   Ford Motor Co, 271 N.W.2d 653, 657 (Wis. 1978) (12-months/12,000 miles not
   unconscionable); Broe v. Oneonta Sales Co., Inc., 100 Misc. 2d 1099 (N.Y. Sup. Ct. 1978)
   (same); Bush v. Am. Motor Sales, Corp., 575 F. Supp. 1581 (D. Colo. 1984) (same); Hahn v.
   Ford Motor Co., Inc., 434 N.E.2d 943 (Ind. App. 1982) (same); Moore v. Coachmen Indus., Inc.,
   499 S.E.2d 772 (N.C. App. 1998) (12-month/15,000 miles not unconscionable). Further, given
   that most of the Ford Plaintiffs bought their used vehicles with the Ford warranties already
   expired, it is difficult to understand how Plaintiffs can claim any prejudice relating to the terms
   of a warranty they never had access to in the first place.
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   written or implied warranties under [State] law.”); McCabe v. Daimler AG & Mercedes-Bens
   USA, LLC, 948 F. Supp. 2d 1347, 1364 (N.D. Ga. 2013).
          C.      Plaintiffs’ Unjust Enrichment Claims Fail.
          In Count 22, the Ford Plaintiffs bring a claim for unjust enrichment, again putatively
   under the “common law,” or Michigan law, or the law of the states where Plaintiffs “reside
   and/or purchased their Class Vehicles.” (SAC ¶ 683). Again leaving aside the inherent (and
   improper) uncertainty associated with Plaintiffs’ multiple-contingency pleading methods, the
   Ford Plaintiffs’ claims fail under any of their potential standards.
          First, there is no “common law” of unjust enrichment that this federal court sitting in
   diversity may apply to the Ford Plaintiffs’ claims. See Erie R.R. Co. v. Tompkins, 304 U.S. 64
   (1938); Esfeld v. Costa Crociere, S.P.A., 289 F.3d 1300, 1306 (11th Cir. 2002) (“Under the
   doctrine enunciated in Erie and its progeny, federal courts sitting in diversity apply state
   substantive law and federal procedural law.”) (internal quotation omitted). Further, Plaintiffs’
   argument that there are “no true conflicts (case-dispositive differences) among various states’
   laws of unjust enrichment” is wishful thinking of the highest order. Many courts have held that
   States’ articulations of unjust enrichment vary greatly; in fact, there are a number of States –
   including States whose law applies to certain of the Ford Plaintiffs’ claims – that do not
   acknowledge it as a freestanding cause of action at all. See, e.g., Rapp v. Green Tree Servicing,
   LLC, 302 F.R.D. 505, 514 (D. Minn. 2014) (“[Plaintiff] first contends that there are no material
   differences among the unjust-enrichment laws of the 50 states. This argument is plainly wrong.
   As countless courts have found, the states’ different approaches to, or elements of, unjust
   enrichment are significant.”) (emphasis added, internal quotation omitted) (collecting cases).12
          The Ford Plaintiffs’ argument that the unjust enrichment law of Michigan should apply to
   all of their claims fares no better than their attempt to apply Michigan law to their breach of
   warranty claims. Unjust enrichment is an equitable remedy that is viewed as quasi-contractual in
   nature. Guarantee Ins. Co. v. Brand Mgmt. Serv., Civ. No. 12–61670, 2013 WL 6768641, at *11

   12
     See also Thompson v. Bayer Corp., No. 4:07CV00017 JMM, 2009 WL 362982, at *4 (E.D.
   Ark. Feb. 12, 2009); Harris v. comScore, Inc., 292 F.R.D. 579, 583-84 (N.D. Ill. 2013);
   Kunzelmann, 2013 WL 139913, at *6; Yarger v. ING Bank, FSB, 285 F.R.D. 308, 323-25 (D.
   Del. 2012); Corwin v. Lawyers Title Ins. Co., 276 F.R.D. 484, 485-86 (E.D. Mich. 2011); In re
   Aqua Dots Prods. Liab. Litig., 270 F.R.D. 377, 386 (N.D. Ill. 2010); In re Conagra Peanut
   Butter Prods. Liab. Litig., 251 F.R.D. 689, 696-98 (N.D. Ga. 2008); Thompson v. Jiffy Lube Int'l,
   Inc., 250 F.R.D. 607, 626 (D. Kan. 2008).
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   (S.D. Fla. Dec. 20, 2013) (“unjust enrichment is a claim in quasi-contract[.]”). Accordingly, the
   Ford Plaintiffs’ unjust enrichment claims are subject to the same choice-of-law analysis as their
   breach of implied warranty claims, with the same result following: the law of the place of
   purchase governs the claim. See In re Bridgestone/Firestone, Inc. Tires Prods. Liab. Litig., 288
   F.3d 1012 (7th Cir. 2002) (reversing district court certification of nationwide class asserting,
   inter alia, unjust enrichment claims against Ford under Michigan law).
           Turning to Plaintiffs’ third alternative – the law of the Ford Plaintiffs’ residence or
   purchase – the claims of Ford Plaintiffs Aliscio, Weisblat, Sinclair, Benton, and Woodard must
   be dismissed because under Florida and South Carolina law a plaintiff cannot bring a claim for
   unjust enrichment (an equitable remedy) alongside a claim at law relating to the same conduct.
   This Court held – in the context of an automotive case alleging diminished value from an
   undisclosed defect – that unjust enrichment claims must be dismissed when a parallel legal claim
   (such as FDUTPA) is brought for the same conduct. See Matthews v. Am. Honda Motor Co.,
   Civ. No. 12–60630, 2012 WL 2520675, at *2 (S.D. Fla. June 6, 2012) (“It is well-established
   under Florida law that unjust enrichment is an equitable remedy that is available only when the
   plaintiff lacks an adequate remedy at law. Here, because [plaintiff’s] unjust enrichment claim is
   predicated on the same wrongful conduct as her FDUTPA claim, she does not lack an adequate
   remedy.”); see also Prohias v. Pfizer, Inc., 490 F. Supp. 2d 1228, 1236-37 (S.D. Fla. 2007);
   Jovine v. Abbott Labs, Inc., 795 F. Supp. 2d 1331, 1341-42 (S.D. Fla. 2011); Barrett v. Miller,
   321 S.E.2d 198, 199 (S.C. App. 1984) (holding that unjust enrichment claim is an equitable
   remedy and “[w]here a plaintiff has an adequate remedy at law, equitable relief is not normally
   in order.”).
           The unjust enrichment claims of Ford Plaintiffs Huebner (CA) and Barnett (TX) also
   must be dismissed because neither of their home States acknowledge unjust enrichment as a
   freestanding cause of action, as opposed to a measure of damages or general principle. See
   McBride v. Boughton, 123 Cal. App. 4th 379, 387-388 (Cal. Ct. App. 2004) (“[u]njust
   enrichment is not [an independent] cause of action, []or even a remedy, but rather ‘a general
   principle, underlying various legal doctrines and remedies.’”) (citation omitted); Jogani v.
   Superior Court, 165 Cal. App. 4th 901, 911 (Cal. Ct. App. 2008) (“[U]njust enrichment is not a
   cause of action.”); Enreach Technology, Inc. v. Embedded Internet Solutions, Inc., 403 F. Supp.
   2d 968, 976 (N.D. Cal. 2005) (“[U]njust enrichment is not a valid cause of action in

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   California.”); Smith v. Ford Motor Co., 462 Fed. Appx. 660, 665 (9th Cir. 2011) (finding
   plaintiffs' argument that unjust enrichment is an independent cause of action “has no merit.”);
   Hancock v. Chi. Title Ins. Co., 635 F. Supp. 2d 539, 561 (N.D. Tex. 2009) (“Texas law does not
   afford an independent cause of action for unjust enrichment[.]”); Redwood Resort Props., LLC v.
   Holmes Co., 2006 WL 3531422, at *9 (N.D. Tex. Nov. 27, 2006) (dismissing an unjust
   enrichment claim and holding that it is not an independent cause of action); Argyle Indep. Sch.
   Dist. v. Wolf, 234 S.W.3d 229, 246-47 (Tex. Ct. App. 2007).
          Finally, the unjust enrichment claims of the Ford Plaintiffs from jurisdictions that
   acknowledge the existence of the cause of action must also be dismissed because they cannot
   allege that they have conferred any benefit on Ford, a required element of unjust enrichment
   under their State’s law. See Moynet v. Courtois, 8 So.3d 377, 379 (Fla. Dist. Ct. App. 2009);
   Am. Safety Ins. Serv., Inc. v. Griggs, 959 So. 2d 322, 331 (Fla. 5th DCA 2007); Extraordinary
   Title Servs., LLC v. Fla. Power & Light Co., 1 So. 3d 400, 401 (Fla. 3d DCA 2009) (unjust
   enrichment claim was properly dismissed because power customer had no relationship with
   utility’s parent company and did not confer a direct benefit on the parent company); Peoples
   Nat’l Bank of Commerce v. First Union Nat’l Bank of Fla. N.A., 667 So. 2d 876, 879 (Fla 3d
   DCA 1996) (dismissing unjust enrichment claim because plaintiff “could not and did not allege
   that it had directly conferred a benefit on the defendants”); In re MI Windows & Doors, Inc.,
   Prods. Liab. Litig., Civ. No. 2:12–mn–00001, 2012 WL 5408563, at *6 (D.S.C. Nov. 6, 2012).
   Here, Plaintiffs have conferred no benefit on Ford related to their vehicles.
          None of the Ford Plaintiffs purchased their vehicles from Ford. (SAC ¶¶ 76, 84, 165,
   179, 184). They purchased them from independent dealers, who buy and sell vehicles for their
   own benefit. (Id.) Ford did not receive the proceeds of those sales (the dealerships did), and
   accordingly Ford did not retain any such benefit from the Ford Plaintiffs. See In Re Porsche
   Cars N. Am., Inc. Plastic Coolant Tubes Prods. Liab. Litig., 880 F. Supp. 2d 801, 843 (S.D. Ohio
   2012) (dismissing Florida unjust enrichment claim where plaintiff alleged that he purchased a
   used vehicle and failed to plead the manner in which he conferred a direct benefit on Porsche);
   Doll v. Ford Motor Co., 814 F. Supp. 2d 526, 551-52 (D. Md. 2011 (dismissing Florida unjust
   enrichment claim because plaintiff failed to demonstrate that Ford received a direct benefit from
   his purchase of a used Ford vehicle from an independent dealership). Lacking these essential
   elements, the Ford Plaintiffs’ unjust enrichment claims fail as a matter of law. See MI Windows

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   & Doors, 2012 WL 5408563, at *6-7 (dismissing unjust enrichment claims against remote
   manufacturer, noting plaintiff’s payment to intermediate distributor “does not confer any benefit
   on [remote manufacturer], since [remote manufacturer] had already been paid for the [products]
   by the [distributor]. . . . These allegations are insufficient to state a claim.”) (citing Niggel
   Assocs. v. Polo’s of North Myrtle Beach, Inc., 296 S.C. 530, 374 S.E.2d 507, 509 (S.C. Ct. App.
   1988) (“Any benefit received was an incidental result of dealings between others in which it did
   not participate and over which it assumed no control”)); Chase Home Fin., LLC v. Risher, 405
   S.C. 202, 212, 746 S.E.2d 471, 476-77 (S.C. Ct. App. 2013) (affirming a finding that unjust
   enrichment not established where defendant was not direct recipient of claimed benefit).


          D.      Ford Plaintiffs Cannot Assert Claims Under Michigan Consumer
                  Protection Act Or The Ohio Consumer Sales Practices Act.

          In Count 23, the Ford Plaintiffs assert a claim for a putative nationwide class under the
   Michigan Consumer Protection Act, Mich. Comp. Laws §§ 445.903, et seq. (SAC ¶ 689-709).
   In Count 87, they assert a statewide Ohio subclass claim under the Ohio Consumer Sales
   Practices Act, Ohio Rev. Code §§ 1345.01, et seq. (SAC ¶¶ 1641-1663). None of the Ford
   Plaintiffs reside in Michigan or Ohio, or purchased their vehicles in Michigan or Ohio.
   Nevertheless, Plaintiffs baldly assert that Michigan’s consumer protection act should apply to the
   nationwide class “because Michigan has the most significant relationship to the facts and issues
   relevant to this claim,” (SAC ¶ 689), and that a subclass should be maintained for Ford
   purchasers in Ohio. Plaintiffs are wrong.
          As this Court noted in In re Managed Care:

                  The Commerce Clause and Due Process Clauses limit the ability of
                  each state to apply its own laws and policies to conduct occurring
                  beyond its borders. BMW of N. Am. v. Gore, 517 U.S. 559, 572 ,
                  116 S.Ct. 1589, 134 L.Ed.2d 809 (1996). A state’s laws are
                  “presumptively territorial and confined to limits over which the
                  law-making power has jurisdiction.” Sandberg v. McDonald, 248
                  U.S. 185, 195 , 39 S.Ct. 84 , 63 L.Ed. 200 (1918). None of the state
                  statutes invoked by Plaintiffs expressly apply beyond the borders
                  of the states that enacted them. These are fundamental substantive
                  limits on the scope of state regulatory jurisdiction – limits that the
                  procedural vehicle of a class action cannot justify transgressing.
                  Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 821 , 105 S.Ct.


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                   2965 , 86 L.Ed.2d 628 (1985); In re Bridgestone/Firestone, Inc.
                   Tires Prods. Liab. Litig., 288 F.3d 1012, 1018 (7th Cir.2002).

   In re Managed Care Litig., 298 F. Supp. 2d 1259, 1296 (S.D. Fla. 2003). Consistent with these
   principles, numerous courts have held that extraterritorial application of a State’s consumer
   protection laws to putative class members residing in other States, for transactions occurring in
   other States, is improper. Id. (“The Court finds that the [extraterritorial statutes] can have no
   application to Plaintiffs that neither reside . . . nor have engaged in a relevant transaction in that
   particular State.”); Berry, 497 F. Supp. 2d at 1366 (dismissing putative nationwide consumer
   fraud claim under the law of the State of defendant’s headquarters for failure to state a claim
   upon which relief can be granted); In re Bridgestone/Firestone, 288 F.3d at 1018 (decertifying
   50 state class against Ford putatively under Michigan law, holding “[s]tate consumer-protection
   laws vary considerably, and courts must respect these differences rather than apply one state’s
   law to sales in other states with other rules.”).13


   13
      See also Mazza v. Am. Honda Motor Co., 666 F.3d 581, 592 (9th Cir. 2012) (decertifying
   nationwide class under law of defendant’s State of incorporation, holding “[t]he automobile sales
   at issue in this case took place within 44 different jurisdictions, and each state has a strong
   interest in applying its own consumer protection laws to those transactions.”); In re Graphics
   Processing Units Antitrust Litig., 527 F. Supp. 2d 1011, 1026 (N.D. Cal. 2007) (dismissing state
   law claims in putative class action because no named plaintiff resided in those states, explaining
   “[e]ach claim under each state statute must be analyzed separately . . . . [a] class cannot assert a
   claim on behalf of an individual that they cannot represent”); Granfield v. NVIDIA Corp., 2012
   WL 2847575, at *4 (N.D. Cal. July 11, 2012) (dismissing all non-Massachusetts state law
   warranty claims with prejudice for lack of standing where named plaintiff failed to allege she
   made any relevant purchases outside the state of Massachusetts); Suarez v. Playtex Prods., Inc.,
   2009 WL 2212315, at *2 (N.D. Ill. July 24, 2009) (dismissing claims for jurisdictions where
   plaintiffs did not live); Cornelius v. Fidelity Nat’l Title Co., 2009 WL 596585, at *9-10 (W.D.
   Wash. Mar. 9, 2009) (no basis for claims under out-of-state laws; lacking standing, claims
   dismissed); McGuire v. BMW of N. Am., LLC, Civ. No. 13–7356, 2014 WL 2566132 , at *6
   (D.N.J. June 6, 2014) (“[T]his Court agrees that the Plaintiff here lacks standing to assert claims
   under the laws of the states in which he does not reside, or in which he suffered no injury . . .
   For the foregoing reasons, the Court grants Defendant’s motion to dismiss Plaintiffs multi-state
   allegations”); Lauren v. PNC Bank, N.A., 296 F.R.D. 389, 391 (W.D. Pa. 2014) (“[Plaintiff]
   suffered an alleged injury exclusively under Ohio law. Therefore, she does not have standing to
   assert unjust enrichment claims under the law(s) of any other state”); In re Packaged Ice
   Antitrust Litig., 779 F. Supp. 2d 642, 657 (E.D. Mich. 2011) (“[N]amed plaintiffs lack standing
   to assert claims under the laws of states in which they do not reside or in which they suffered no
   injury”); In re Niaspan Antitrust Litig., 42 F.Supp.3d 735, 758 (E.D. Pa. 2014) (same); Smith v.
   Pizza Hut, Inc., 2011 WL 2791331, *8 (D. Colo. July 14, 2011) (“It is well established that a
   plaintiff does not have standing to allege claims on his own behalf under the laws of states where
                                                         23
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          In keeping with the foregoing authority, Counts 23 and 87 should be dismissed with
   respect to the Ford Plaintiffs, with prejudice.


          E.      Ford Plaintiffs’ Negligence Claims Are Barred By The Economic Loss Rule.
          In Count 24, the Ford Plaintiffs purport to bring a claim for negligence under the law of
   Michigan, or alternatively under the laws of the States where Plaintiffs “reside and/or purchased
   their Class Vehicles.” (SAC ¶ 710). Plaintiffs claim that Ford’s negligence has caused them to
   suffer “actual damages” in the form of “significantly diminished value of the vehicles in which
   the defective and unreasonably dangerous airbags are installed[.]” (Id. at ¶ 714). That is, the
   Ford Plaintiffs seek to recover purely economic losses in negligence. Such claims are barred by
   the economic loss rule.
          “[T]he economic loss rule is a judicially created doctrine that sets forth the circumstances
   under which a tort action is prohibited if the only damages suffered are economic losses.” Tiara
   Condo. Ass'n v. Marsh & McLennan Cos. Inc., 110 So.3d 399, 401 (Fla. 2013) (citation omitted);
   see also E. River S.S. Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 870 (1986) (same);
   Aprigliano v. Am. Honda Motor Co., 979 F. Supp. 2d 1331, 1336 (S.D. Fla. 2013) (same). In the
   context of products liability actions claiming only economic losses – such as repair costs, or the
   loss of value in the product itself owing to an alleged defect – claims in tort are not permitted, as
   such claims are best addressed by warranty remedies.          See Tiara, 110 So.3d at 405 (“the
   rationale being that in those cases contract principles are more appropriate than tort principles for
   resolving economic loss without an accompanying personal injury or property damage”);
   Aprigliano, 979 F. Supp. 2d at 1335-36; E. River, 476 U.S. at 870.
          The claims of Ford Plaintiffs Aliscio, Weisblat, and Sinclair are appropriately determined
   under Florida law, see Section IV(B)(1), supra. Per Tiara and Aprigliano, their claims must be
   dismissed under the economic loss doctrine because their vehicles have not injured them or
   caused damage to other property, and the damages sought are purely economic. See also Burns
   v. Winnebago Indus., Inc., 2013 WL 4437246, at * 4 (M.D. Fla. Aug. 16, 2013) (dismissing
   negligence-based claims against manufacturing defendants under economic loss doctrine where
   it was alleged that defendants sold a product they knew was defective); Premix-Marbletite Mfg.


   he has never lived or resided because he has not suffered an injury under those laws, nor is he
   protected by those laws”) (citations omitted).
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   Corp. v. SKW Chems, Inc., 145 F. Supp. 2d 1348, 1359 (S.D. Fla. 2001) (granting summary
   judgment against plaintiff where only economic losses were pleaded and “the allegations
   contained in [the plaintiff’s] tort claims [were] essentially the same as those in its breach of
   warranty claims”).
          The claims of Ford Plaintiffs Benton and Woodard are similarly barred by the economic
   loss rule under South Carolina law. See Sapp v. Ford Motor Co., 386 S.C. 143, 687 S.E.2d 47
   (2009) (barring recovery for product defects solely resulting in damage to vehicles themselves,
   under economic loss rule); In re Atlas Roofing Corp. Chalet Shingle Prods. Liab. Litig., 22 F.
   Supp. 3d 1322 (N.D. Ga. 2014) (applying South Carolina, dismissing negligence claim seeking
   economic loss on grounds that economic loss rule bars claim). Ford Plaintiff Huebner’s claim,
   based on California law – where Huebner resided and purchased his Ford vehicle (see SAC ¶
   114) – is also barred by the economic loss rule. See Seely v. White Motor Co., 63 Cal. 2d 9, 18
   (1965); Sharma v. BMW of N. Am., LLC, Civ. No. No. C–13–2274, 2014 WL 2795512, *6-7
   (N.D. Cal. June 19, 2014); Callaghan v. BMW, 2014 WL 1340085, at *1, *6 (N.D. Cal. Apr. 2,
   2014). And Ford Plaintiff Barnett’s claim is likewise barred under applicable Texas law. See
   Murray v. Ford Motor Co., 97 S.W.3d 888, 891 (Tex. App.-Dallas 2003) (affirming dismissal of
   negligence claims under economic loss rule; claim barred in tort where product “injures a
   consumer economically and not physically”); Sharyland Water Supply Co. v. City of Alton, 354
   S.W.3d 407, 418 (Tex. 2011) (“we have applied the economic loss rule only in cases involving
   defective products or failure to perform a contract. In both of those situations, we held that they
   parties’ economic losses were more appropriately addressed through statutory warranty actions
   or common law breach of contract suits than tort claims.”).14


   14
      Even if this Court were to accept Plaintiffs’ invitation to apply Michigan law to the putative
   nationwide class, those claims would nonetheless be barred under the economic loss doctrine as
   applied in Michigan. See Murphy v. Proctor & Gamble Co., 695 F. Supp. 2d 600, 602 (E.D.
   Mich. 2010) (holding economic loss doctrine bars consumer claims seeking “purely economic
   losses arising out of the quality of . . . products”) (ellipses in original); In re MI See MI Windows
   & Doors, MDL No. 2333, 2012 WL 5182416, at *3 (D.S.C. Oct. 18, 2012) (applying Michigan
   law, “Michigan’s economic loss doctrine bars consumers from tort recovery against
   manufacturers of defective products when the only losses are damages to the defect product
   itself.”); Eaton Corp. v. Magnavox Co., 581 F. Supp. 1514, 1536 (E.D. Mich. 1984) (“the only
   damages recoverable under a negligence theory are those for personal injury and property
   damage; damages for pure economic harm cannot be recovered.”); McGhee v. General Motors
   Corp., 98 Mich. App. 495, 296 N.W.2d 286 (1980) (same).
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          F.      Ford Plaintiffs Fail To State A Claim Under FDUTPA.
          Count 47 asserts a claim against Ford under FDUTPA, on behalf of a putative Florida
   sub-class. (SAC ¶¶ 1009-1030). The Ford Plaintiffs’ claims must be dismissed because none
   allege a manifestation of any alleged defect in their vehicles. Further, because their FDUTPA
   claims sound in fraud, their pleading is governed by the particularity requirements of Rule 9(b) –
   which are not satisfied. Finally, Plaintiff Aliscio’s FDUTPA claim is time-barred.


                  1.     Lack of Manifestation of Defect Bars FDUTPA Claims.
          Economic damages for products that are alleged to have a “risk of failure” or to be
   “failure prone,” but have not yet failed, are not available under FDUTPA. FDUTPA was not
   enacted to provide for recovery of every type of damages that could arise from the purchase of a
   product or service, nor to duplicate or supplant other claims and relief available to consumers.
   Rather, the “obvious purpose of FDUTPA ‘is to make consumers whole for losses caused by
   fraudulent consumer practices.’” Delgado v. J.W. Courtesy Pontiac GMC-Truck, Inc., 693 So.
   2d 602, 606 (Fla. 2d DCA 1997) (quoting Marshall v. W & L Enters. Corp. 360 So. 2d 1147,
   1148 (Fla. 1st DCA 1978)). Thus, FDUTPA’s remedies “‘are in addition’ to,” not duplicative
   of, “other remedies available under state or local law.” Id. (emphasis in original) (quoting
   Pinellas Cnty. Dept. of Consumer Affairs v. Castle, 392 So. 2d 1292, 1293 (Fla. 1980)).
          Consistent with FDUTPA’s intended purpose, Florida law requires in a case involving an
   allegedly defective product, that the defect must actually manifest before the purchaser may
   recover actual damages under FDUTPA. See Kia Motors Am. Corp. v. Butler, 985 So. 2d 1133,
   1139 (Fla. 3d DCA 2008), review denied, 999 So. 2d 644 (Fla. 2008); see also Breakstone v.
   Caterpillar, Inc., 09-23324-CIV, 2010 WL 2164440, at *6 (S.D. Fla. 2010) (explaining that
   those “with no manifest injury only have speculative damages.”). In Kia, the trial court certified
   a class to pursue a FDUTPA claim against an automobile distributor that sold vehicles with
   allegedly defective brakes.   Id.   The Florida Third District Court of Appeal reversed the
   certification order, because, among other reasons, “the class representative seeks compensation
   not only for class members whose brakes have manifested a deficiency, but also for those whose
   brakes have performed satisfactorily.” Id. The Kia court concluded that certifying a class that
   included purchasers who have not experienced a manifestation of the alleged defect “deviated

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   from the majority of jurisdictions, which consistently have denied class recovery on the type of
   theory the class representative presses in this case.” Id. (internal citations omitted). The court
   reiterated that it was “firmly aligned . . . with this majority jurisprudence.” Id. (citing Ortiz v.
   Ford Motor Co., 909 So. 2d 479 (Fla. 3d DCA 2005) (refusing to certify a class of purchasers
   who alleged they overpaid for their Ford Explorer vehicles that allegedly had an undisclosed
   defect rendering them “prone to rollover” because, among other things, plaintiffs could not
   “demonstrate the manageability of the putative class which is based on an economic recovery of
   a product that is merely failure-prone.”) (emphasis supplied)).
          Here, the Ford Plaintiffs have not alleged that the defect has manifested in any of their
   vehicles. Plaintiffs allege that “[a]s a result of the common, uniform Inflator Defect . . . the
   defective Takata airbags too often either fail to deploy or violently explode[.]” (SAC at ¶ 8).
   Plaintiffs do not allege, however, that any Plaintiff asserting a FDUTPA claim against Ford
   experienced a “fail[ure] to deploy” or a “violent[] explo[sion of]” a Takata airbag in their Ford
   vehicle. (See id. at ¶ 76 (Plaintiff Aliscio); ¶ 165 (Plaintiff Sinclair); ¶ 179 (Plaintiff Weisblat)).
   Instead, as in Kia, Ortiz, and many other cases, Plaintiffs here seek compensation for parts that
   have a “risk of failure” but for Plaintiffs, have “never actually failed.”                 See In re
   Bridgestone/Firestone, 288 F.3d at 1014-1015; Kia, 985 So. 2d at 1139; Ortiz, 909 So. 2d 479.
   Florida is in line with the majority of jurisdictions that prohibit recovery of economic “difference
   in value” damages—the only damages available under FDUTPA—where, as here, the product
   purchased by the plaintiff has never actually failed. Kia, 985 So. 2d at 1017; Ortiz, 909 So. 2d
   479. FDUTPA simply does not provide a remedy for those in the circumstances, and therefore
   Counts 47 should be dismissed with prejudice with respect to Ford. 15


                  2.      Plaintiffs Have Not Alleged Their Fraud-Based FDUTPA Claims with the
                          Particularity Required by Rule 9(b).

          Because the Ford Plaintiffs’ FDUTPA claims are based on allegations of fraudulent
   conduct, they are subject to Rule 9(b)’s pleading requirements. Rule 9(b) “does not state that it
   only applies to claims for fraud; it says it applies to allegations of fraud. While not all claims
   under FDUTPA will be based on fraud” when a plaintiff’s FDUTPA claim is, it “must be

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      Consistent with this authority, Ford incorporates by reference the manifestation requirement
   briefing submitted by Mazda in its Motion to Dismiss at Section C.

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   plead[ed] with particularity.” Perret v. Wyndham Vacation Resorts, Inc., 846 F. Supp. 2d 1327,
   1333 (S.D. Fla. 2012) (emphasis supplied); see also Llado-Carreno v. Guidant Corp., 73 UCC
   Rep. Serv. 2d 617, 2011 WL 705403 (S.D. Fla. 2011) (dismissing FDUTPA claim and holding
   “[t]he particularity requirement of Rule 9(b) applies to all claims that sound in fraud, regardless
   of whether those claims are grounded in state or federal law.”).16
          Here, the Ford Plaintiffs’ FDUTPA claims are based on allegations of fraudulent conduct.
   Indeed, on behalf of the Florida Consumer Sub-Class, Plaintiffs allege that “Defendants failed to
   disclose and actively concealed the dangers and risks posed by the Class Vehicles and/or the
   Defective Airbags,” and “also engaged in unlawful trade practices by employing deceptive acts
   or practices, fraud, misrepresentations, or concealment, suppression or omission of any material
   fact with intent that others rely[.]” (SAC at ¶¶ 1013, 1014) (emphasis supplied). These are
   classic allegations of fraud. See Black’s Law Dictionary (9th ed. 2009) (defining “fraud” as “A
   knowing misrepresentation of the truth or concealment of a material fact to induce another to act
   to his or her detriment”). As explained, supra, in connection with the Ford Plaintiffs’ Fraudulent
   Concealment claim (Count 20), the Ford Plaintiffs have entirely failed to allege the “who, what,
   when and where” regarding Ford’s alleged “misrepresentations and omissions” that is required to
   satisfy Rule 9(b). (See Section IV(A), supra). To the contrary, Plaintiffs’ allegations establish
   that Ford did not know of potential issues with the Takata inflators, which in itself defeats any
   claim based on Ford’s alleged misrepresentation or concealment of potential issues with the
   inflators, since Ford cannot conceal what is does not know. See Friedman v. Am. Guardian
   Warranty Servs., 837 So. 2d 1165 (Fla. 4th DCA 2003); McCabe v. Daimler AG, 948 F. Supp.
   2d 1347 (N.D. Ga. 2013) (applying Florida law).           Accordingly, like the Ford Plaintiffs’
   fraudulent concealment claims, their FDUTPA claim must be dismissed.


                  3.     Plaintiff Joseph Aliscio’s FDUTPA Claim is Time-Barred.




   16
     The Perret court acknowledged “a split in this district over whether a claim under FDUTPA
   must meet the pleading requirements of Rule 9(b)” 846 F. Supp. 2d at 1333 (citing and
   comparing Llado-Carreno, 2011 WL 705403 *5 with Costa v. Kerzner Intern. Resorts, Inc., 11-
   60663-CV, 2011 WL 2519244, at *2 (S.D. Fla. 2011) “(noting the split in authority and holding
   that FDTUPA claims do not have to comply with Rule 9(b), yet, finding insufficient allegations
   of misrepresentations).”
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          “Claims under FDUTPA . . . expire after a four-year period running from the occurrence
   of the last element constituting the cause of action.” Altenel, Inc. v. Millennium Partners, L.L.C.,
   947 F. Supp. 2d 1357, 1371 (S.D. Fla. 2013). “A FDUTPA claim accrues at the time of purchase
   or lease of a product, not upon discovery of an alleged defect.” Speier-Roche, 2014 WL
   1745050, at *6.
          Plaintiff Aliscio allegedly purchased a 2004 Ford Ranger on October 22, 2009. (SAC at
   ¶ 76). Any FDUTPA claim he had with regard to that vehicle purchase, therefore, accrued on
   October 22, 2009, and expired on October 21, 2013. Altenel, Inc., 947 F. Supp. 2d at 1371;
   Speier-Roche, 2014 WL 1745050, at *6. Mr. Aliscio did not assert his FDUTPA claim until
   November 21, 2014, when he joined as a Plaintiff in Weisblat et.al v. Takata Corp., et.al, Case
   No. 0:14-cv-62669-RNS (S.D. Fla. Nov. 21, 2014). Even assuming that, pursuant to Am. Pipe &
   Constr. Co. v. Utah, 414 U.S. 538, 94 S. Ct. 765, 38 L. Ed. 2d 713 (1974), the statute of
   limitations on Mr. Aliscio’s FDUTPA claim was tolled as soon as the first putative class action
   suit against Ford regarding Takata inflators was filed, Mr. Aliscio’s claim is still time-barred
   because the first such suit was not filed until October 27, 2014 (Dunn et.al v. Takata Corp., et.al,
   Case 1:14-cv-24009 (S.D. Fla. Oct. 27, 2014)).         Because it is time-barred, Mr. Aliscio’s
   FDUTPA claim against Ford should be dismissed.


          G.      This Court Lacks Personal Jurisdiction Over The Claims Of Ford Plaintiffs
                  Barnett, Huebner, Benton, and Woodard.

          The claims of Nancy Barnett (SAC ¶ 82), John Huebner (id. ¶ 114), Alicia Bennett (id. ¶
   84), and Teresa Woodard (id. ¶ 184) against Ford should be dismissed for lack of personal
   jurisdiction. Fed. R. Civ. P. 12(b)(2). Although the Court will accept as true the allegations of
   Plaintiffs’ complaint, Plaintiffs have the burden of establishing a prima facie case of personal
   jurisdiction over Ford. Stubbs v. Wyndham Nassau Resort & Crystal Palace Casino, 447 F.3d
   1357, 1360 (11th Cir. 2006). Moreover, Plaintiffs must prove personal jurisdiction exists for
   each plaintiff’s claims against Ford. See Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266,
   274-275 (5th Cir. 2006); accord Charles A. Wright, et al., 4A Federal Practice & Procedure §
   1069.7 (3d ed.). Here, neither Barnett, Huebner, Benton, nor Woodard can do so.
          In multidistrict litigation, this Court exercises “personal jurisdiction to the same extent
   that the transferor court could.”   In re Automotive Refinishing Paint Antitrust Litig., 358 F.3d


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   288, 279 n.11 (3d Cir. 2004). Thus, the question for Barnett’s and Huebner’s claims is whether
   the courts in Florida and Pennsylvania, where their claims were first filed, respectively, have
   personal jurisdiction over Ford on their claims. See In re Chinese Drywall Prods. Liability
   Litig., 742 F.3d 576, 583 (5th Cir. 2014); see also SAC ¶ 82, Dunn v. Takata Corp., No. 1:14-cv-
   24009 (S.D. Fla. Oct. 27, 2014) (Barnett’s claims); SAC ¶ 114, Gerhart v. Takata Corp., Case
   No. 2:14-cv-01562 (W.D. Pa. Nov. 14, 2014) (Heubner’s claims). Benton and Woodard’s
   claims, by contrast, were first brought as part of Plaintiffs’ second amended economic loss class
   action complaint in this Court (SAC ¶¶ 84, 184), and so the question is whether this Court has
   personal jurisdiction over Ford on those claims. In each case, the answer is no.
          In the SAC, Plaintiffs allege this Court has personal jurisdiction over all Defendants
   “pursuant to Florida Statutes 48.193(1)(a)(1), (2), and (6)[.]” (SAC ¶ 41.)          By invoking
   subsection (1) of Florida’s long-arm statute, Plaintiffs are alleging only that “specific
   jurisdiction” over Ford is warranted.17 See Cox v. Indiana, Civ. No. 5:15-61, 2015 WL 2238571,
   at *2 n.1 (N.D. Fla. May 12, 2015) (Florida’s long-arm statute provides for two types of personal
   jurisdiction: specific jurisdiction under § 48.193(1) . . . and general jurisdiction under §
   48.193(2), where a party’s contacts are unrelated to the litigation[.]”).
          To prove specific personal jurisdiction, Plaintiffs’ are required to show, among other
   things, that Barnett, Heubner, Benton, and Woodward’s claims “ ‘arise out of or relate to’ at least


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     Notably, Plaintiffs do not invoke subsection (2) of the long-arm statute and allege that “general
   jurisdiction” over Ford is appropriate. Therefore, the Court need not consider it. See Airplay
   Am., LLC v. Cartagine, Civ. No. 08-81224, 2009 WL 909521, at *2 (S.D. Fla. Apr. 2, 2009)
   (finding general jurisdiction not implicated where plaintiff failed to plead in the Complaint that
   defendant was subject to personal jurisdiction under subsection (2) of the long-arm statute).
   Even if the Court were to consider the issue, the SAC contains no facts establishing that the
   Florida or Pennsylvania courts have general personal jurisdiction over Ford. General jurisdiction
   requires a finding that a defendant’s “affiliations with the State are so continuous and systematic
   as to render [it] essentially at home in the forum state.” Daimler AG v. Bauman, 134 S. Ct. 746,
   755 (2014). In applying this standard, the Daimler Court held that a corporate defendant is
   normally “at home” in only two states—its state of incorporation and state of its principal place
   of business. Id. at 760; see also Carmouche v. Tamborlee Mgmt., Inc., Civ. No. 14–14325, 2015
   WL 3651521, at *4 (11th Cir. Jun. 15, 2015) (“A foreign corporation cannot be subject to
   general jurisdiction in a forum unless the corporation's activities in the forum closely
   approximate the activities that ordinarily characterize a corporation's place of incorporation or
   principal place of business.”). Ford is a Delaware corporation with its principal place of business
   in Michigan. (SAC ¶ 53 (Ford is headquartered in Michigan).) Therefore, the Florida and
   Pennsylvania courts do not have general personal jurisdiction over Ford.

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   one of [Ford’s] contacts with” Florida or Pennsylvania, as applicable. Louis Vuitton Malletier,
   S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013) (citation omitted). Barnett, the initial
   Florida filer, resides in Texas and purchased her Ford vehicle used in Texas. (SAC ¶ 82.)
   Benton and Woodard, the other Florida filers, reside in South Carolina and bought their Ford
   vehicles used and new, respectively, in South Carolina. (SAC ¶¶ 84, 184.) Under the Eleventh
   Circuit’s “arising out of” test, Ford’s contacts with Florida must both be the “but-for” cause of
   their tort claims and must be of such a nature that Ford had fair warning that its Florida activities
   would subject the company to suit by them. Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d
   1210, 1223 (11th Cir. 2009). The SAC, however, never identifies an activity of Ford in Florida
   that was the but-for cause of these claims against the company. The same is true of Heubner, the
   Pennsylvania filer. He lives in California, and brought his Ford vehicle there. (SAC ¶ 114.) His
   claims against Ford do not arise out of any contact Ford has with Pennsylvania. See Oldfield,
   558 F.3d at 1233.18
          Accordingly, the Court should dismiss the claims of Nancy Barnett, John Huebner, Alicia
   Bennett, and Teresa Woodard for lack of personal jurisdiction.


          H.      Plaintiff Barnett Fails To State A Claim Under Texas CPA.
          Count 97 fails to assert a proper claim under the Texas Consumer Sales Practices Act,
   Tex. Bus. & Com. Code §§ 17.41, et seq. The DTPA proscribes two broad categories of
   conduct: (1) the “use or employment by any person of a false, misleading, or deceptive act or
   practice[;]” and (2) “any unconscionable action or course of action by any person[.]” TEX.
   BUS. & COM. CODE § 17.50(a)(1), (3). Here, the SAC alleges that Ford violated the DTPA by,
   among other things: “(1) representing that the Class Vehicles and/or the Defective Airbags
   installed in them have characteristics, uses, benefits, and qualities which they do not have; (2)
   representing that they are of a particular standard, quality, and grade when they are not; (3)
   advertising them with the intent not to sell or lease them as advertised; and (4) failing to disclose
   information concerning them with the intent to induce consumers to purchase or lease them.”




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     Although Heubner’s suit was brought in Pennsylvania, courts generally hold that a transferee
   court applies its own circuit law to Due Process questions in the personal-jurisdiction analysis.
   See Federal Practice & Procedure § 3866.
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   (SAC ¶ 1796.) However, these threadbare and conclusory allegations do not state a plausible
   claim under the DTPA as a matter of law.
           Indeed, Plaintiff Barnett (the only Ford Plaintiff from Texas) pleads no facts establishing
   that Ford’s allegedly deceptive conduct occurred “in connection with a consumer transaction,” as
   the statute demands. See Amstadt v. U.S. Brass Corp., 919 S.W.2d 644, 649-50 (Tex. 1996)
   (holding that, under the DTPA, “a defendant’s deceptive conduct must occur in connection with
   a consumer transaction”).       This requirement limits liability under the DTPA in a manner
   consistent with the statute’s purposes. As the Supreme Court of Texas reasoned:
                   The in-connection-with requirement imposes a limitation on
                   liability that is consistent with the underlying purposes of the
                   DTPA. Without this limitation, we would merely substitute the
                   defendant’s introduction of a particular product into the stream of
                   commerce for the conduct that was found to have violated the
                   DTPA. We find no authority for shifting the focus of a DTPA
                   claim from whether the defendant committed a deceptive act to
                   whether a product that was sold caused an injury. Requiring a
                   connection between the plaintiffs, their transactions, and the
                   defendants’ conduct enunciates a limitation we have alluded to, but
                   not fully articulated, in prior cases. While our words have varied,
                   the concept has been consistent: the defendant’s deceptive trade act
                   or practice is not actionable under the DTPA unless it was
                   committed in connection with the plaintiff’s transaction in goods or
                   service.

   Id. at 649-50 (internal citations omitted) (italics in original).
           Plaintiff Barnett claims she purchased 2007 Ford Mustang from Henna Chevrolet in
   2008. (SAC ¶ 82.) However, she fails to plead any facts whatsoever demonstrating that Ford
   somehow acted deceptively or unconscionably in connection with that transaction. While the
   SAC broadly alleges that Defendants violated the DTPA through representations and
   advertisements regarding the Class Vehicles, Plaintiff Barnett does not plead that Ford made a
   false representation to her in connection with her vehicle purchase transaction, much less
   identify the content of that representation, state why it was false, how she relied on it to her
   detriment, or how it induced her into buying an allegedly defective vehicle.19 See St. Johns


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     The Fifth Circuit has held that “Rule 9(b) applies by its plain language to all averments of
   fraud, whether they are part of a claim of fraud or not.” Lone Star Ladies Inv. Club v.
   Scholtzsky’s, Inc., 238 F.3d 363, 368 (5th Cir. 2001). Because allegations of fraud underlie a
   Texas DTPA claim, Texas federal district courts have held that the heightened pleading
                                                      32
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   United Methodist Church v. Delta Elec., Inc., Civ. No. 3-11-57, 2012 WL 3205043, at *4 (S.D.
   Tex. Aug. 3, 2012) (dismissing DTPA claim based on failure to show that any plaintiff church
   members saw or relied upon an actionable representation by the defendant). Nor does she
   identify or describe an allegedly false Ford advertisement to which she was exposed before
   purchasing her vehicle. Similarly, while Plaintiff Barnett claims that Ford failed to disclose
   information concerning the Class Vehicles “with the intent to induce consumers to purchase or
   lease them,” she never alleges facts demonstrating Ford’s knowledge in 2007 that should have
   been disclosed, nor explain how the withheld information was intended to induce her to purchase
   her used vehicle.20 See St. Johns United Methodist Church, 2012 WL 3205043, at *4. Simply
   put, these conclusory allegations are implausible on their face, fall far short of the heightened
   pleading requirements of Rule 9(b), and fail to state an actionable claim under the DTPA.
   Amstadt, 919 S.W.2d at 650 (“the defendant’s deceptive trade act or practice is not actionable
   under the DTPA unless it was committed in connection with the plaintiff’s transaction in goods
   or service” (italics in original)).
           I.      Plaintiffs’ Requests For Judicial Supervision Of Recall Process Are
                   Preempted Or Within The Primary Jurisdiction Of NHTSA.

           The SAC requests injunctive relief “to enjoin the Ford Defendants from continuing its
   negligence by continuing to install Defective Airbags in Class Vehicles.” (SAC ¶ 716). Similar
   requests are imbedded in various other claims in the SAC. See SAC ¶¶ 403, 708, Prayer for
   Relief (D). These requests constitute direct conflicts with NHTSA’s authority to supervise
   automotive recalls, and as such are preempted by the Safety Act, or within the primary
   jurisdiction of NHTSA. For efficiency, Ford hereby adopts and incorporates by reference the
   arguments and authority on this proposition set forth in Toyota’s Motion to Dismiss, Section




   requirements of Rule 9(b) apply. See, e.g., Luna v. Nationwide Prop. & Cas. Ins. Co., No. 10-
   2918, 2011 WL 2565354, at *3 (S.D. Tex. Jun. 27, 2011) (“Because ‘Rule 9(b) applies by its
   plain language to all averments of fraud, whether they are part of a claim of fraud or not,’ it
   applies to statutory claims based on allegations of fraud.”).
   20
     Although a manufacturer may be “connected to” a later purchaser’s consumer transaction if the
   manufacturer’s deceptive claims are incorporated into the seller’s representations and relied upon
   by the buyer, Plaintiff Barnett never even attempts to explain (much less plead facts showing)
   how that occurred here. Klein v. Marvin Lumber and Cedar Co., 575 Fed. Appx. 347, 348-49
   (5th Cir. 2014).
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   VII(B)-VIII, Honda’s Motion to Dismiss, Section II(A), Mazda’s Motion to Dismiss, Section I,
   and BMW’s Motion to Dismiss at Section X.
                                         V. CONCLUSION

           Plaintiffs’ own pleading establishes that at the time the Ford Plaintiffs made their
   purchases, Ford was unaware of any potential issues with the Takata inflators installed in its
   vehicles. Merely selling a vehicle that, a decade later, may be determined to contain a potential
   problem in a component part does not, in and of itself, constitute fraud or a deceptive trade
   practice. More must be alleged to support such claims. Plaintiffs’ SAC provides no basis to
   conclude that Ford knew of, much less actively concealed, any potential problems with Takata
   inflators.   The SAC certainly falls short of the specificity requirements of Rule 9(b), and
   otherwise fails to state a claim upon which relief can be granted in any count directed to Ford.
   Accordingly, for all of the reasons set forth above, all Counts of the SAC directed to Ford should
   be dismissed, with prejudice.

                                                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on July 17, 2015, I electronically filed the following
   document with the Clerk of the Court using CM/ECF. I also certify the foregoing document is
   being served this day on all counsel of record in this case via transmission of Notice of
   Electronic Filing generated by CM/ECF.
                                                    s/ E. Colin Thompson____________
                                                    E. Colin Thompson




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